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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:20-cv-10844-JFW-Ex                                     Date February 6, 2024

Title: Christopher L. Chester, et al. v. County of Los Angeles, et al.

Present: The Honorable John F. Walter




                 Shannon Reilly                                           None
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                            .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

✘ Other Case closed. Make JS-6
G

G Entered                                  .




                                                                  Initials of Preparer       sr




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
